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                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

JED WALLACE,                               §
STREET RELATIONS, INC.                     §
                                           §
         Plaintiffs,                       §
                                           §
v.                                         §    CIVIL ACTION NO. 1:25-cv-163
                                           §
BLAKE LIVELY,                              §
                                           §
         Defendant.                        §

                          AGREED MOTION TO CORRECT
                             DOCKET ENTRY NO. 11

        Plaintiffs Jed Wallace (“Wallace”) and Street Relations, Inc. (“Street”) (col-

lectively “Plaintiffs”) and Defendant Blake Lively move to Correct Docket Entry

No. 11 to March 10, 2025, for Defendant to respond to the Complaint based on Plain-

tiffs’ service of Defendant on February 15, 2025, pursuant to Rule 4(e) of the Federal

Rules of Civil Procedure.

     The parties ask the Court to grant the Motion and correct the docket to show the

proper date for Defendant’s response, March 10, 2025.




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Dated: February 28, 2025                  Respectfully submitted,


                                          JACKSON WALKER LLP


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                                                           -and-




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                                               ATTORNEYS FOR
                                               DEFENDANT


                      CERTIFICATE OF CONFERENCE

      I hereby certify that all parties have conferred regarding the foregoing motion

and file it as an agreed motion.


                                               /s/ Matt Dow
                                               Matt Dow




                          CERTIFICATE OF SERVICE

      I hereby certify that on this 28th day of February, 2025, a true and correct copy

of the above documents was served via the CM/ECF system to all counsel of record.

                                            /s/ Matt Dow
                                            Matt Dow



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